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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.
                                                                    Re: Docket Nos. 2295, 2391, 2592, 2594



                                NOTICE OF SERVICE OF DISCOVERY

                  PLEASE TAKE NOTICE that on the 23rd day of April, 2021, true and correct

copies of (i) The Official Committee of Tort Claimants to Boy Scouts of America and Delaware

BSA, LLC First Set of Interrogatories to Century Indemnity Company; (ii) Coalition of Abused

Scouts for Justice, the Official Committee of Tort Claimants to Boy Scouts of America and

Delaware BSA, LLC and the Future Claims Representative’s First Requests for the Production

of Documents to Century Indemnity Company; and (iii) Coalition of Abused Scouts for Justice,

the Official Committee of Tort Claimants to Boy Scouts of America and Delaware BSA, LLC and

the Future Claims Representative’s First Set of Requests for Admission to Century Indemnity

Company were served on the individuals listed below in the manner indicated:

    Electronic Mail:

    (Counsel to Century Indemnity Company, as successor to CCI Insurance Company, as successor to
    Insurance Company of North America and Indemnity, et al.)

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    Janine Panchok-Berry, Esq.
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    Times Square Tower
    7 Times Square

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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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Dated: April 23, 2021        MONZACK MERSKY AND BROWDER, P.A.
Wilmington, Delaware

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